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 5
                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
 7
     CLAYTON D. KIRSH,                                  CASE NO. C21-5371 BHS
 8
                              Plaintiff,                ORDER DECLING TO ADOPT
 9          v.                                          REPORT & RECOMMENDATION

10   RODEWAY INN HOTEL AND
     SUITES, et al.
11
                              Defendants.
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13          This matter comes before the Court on the Report and Recommendation (“R&R”)
14   of the Honorable Theresa L. Fricke, United States Magistrate Judge, Dkt. 7, and Plaintiff
15   Clayton Kirsh’s request for an extension of time, Dkt. 8.
16          On May 19, 2021, Kirsh filed a motion for leave to proceed in forma pauperis and
17   a proposed complaint. Dkt. 1. On July 9, 2021, the Court ordered Kirsh to show cause
18   why his complaint should not be dismissed for failure to state a claim or file a proposed
19   amended complaint to cure, if possible, the deficiencies the Court identified in his
20   complaint. Dkt. 6. The Court informed Kirsh that the proposed complaint was fatally
21   deficient for failure to allege sufficient facts to state a Section 1983 cause of action and
22   for lack of subject matter jurisdiction. Id. The deadline for Kirsh’s response was set for
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     ORDER - 1
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 1   July 30, 2021. Id. Kirsh did not respond to the Court’s order to show cause and did not

 2   submit a proposed amended complaint.

 3          Judge Fricke issued the instant R&R, recommending that the Court dismiss

 4   Kirsh’s complaint without prejudice for failure to prosecute. Dkt. 7. On September 1,

 5   2021, Kirsh moved for an extension of time to respond to the order to show cause,

 6   explaining that he was unable to respond to the order because he had been diagnosed with

 7   COVID-19 and was in quarantine. Dkt. 8.

 8          Because of Kirsh’s response and the change of circumstances, the Court

 9   DECLINES to adopt the R&R at this time. Kirsh is ordered to show cause why his

10   complaint should not be dismissed, or he may file a proposed amended complaint to cure,

11   if possible, the deficiencies noted by Judge Fricke on or before November 5, 2021.

12          The Clerk is directed to send Kirsh the appropriate forms for filing a 42 U.S.C.

13   § 1983 civil rights complaint and for service, a copy of this Order, a copy of the Order to

14   Show Cause, Dkt. 6, and the pro se information sheet. This matter is re-referred to Judge

15   Fricke for further consideration.

16          IT IS SO ORDERED.

17          Dated this 6th day of October, 2021.

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                                               A
                                               BENJAMIN H. SETTLE
                                               United States District Judge

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     ORDER - 2
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